429 F.2d 670
    The PORT OF NEW YORK AUTHORITY and Board of Commissioners ofthe Port of New Orleans, Petitioners,v.FEDERAL MARITIME COMMISSION and the United States ofAmerica, Respondents, Pacific Westbound Conference,Pacific/Indonesian Conference and Six OtherConferences, andPacific Coast Association of Port Authorities, Intervenors.BOARD OF COMMISSIONERS OF the PORT OF NEW ORLEANS and thePort of New YorkAuthority, Petitioners,v.UNITED STATES of America and Federal Maritime Commission,Respondents, PacificCoast Australasian TariffBureau et al., Intervenors.
    Nos. 23254, 24628.
    United States Court of Appeals, Fifth Circuit.
    July 31, 1970.
    
      Sumter D. Marks, Jr., New Orleans, La., James M. Henderson, Mark P. Schlefer, Washington, D.C., Louis B. Claverie, New Orleans, La., for petitioners.
      Kenneth H. Burns, Sol., F.M.C., Walter H. Mayo, III, Atty., F.M.C., Irwin A. Seibel, Atty., Dept. of Justice, Washington, D.C., Edward D. Ransom, William W. Schwarzer, San Francisco, Cal., W. Richard Haddad, Atty., Dept. of Justice, Norman C. Barnett, F.M.C., Washington, D.C., for respondents.
      Before JONES, GEWIN and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Because they present petitions for review brought by the same parties as to the same Federal Maritime Commission proceedings (FMC Docket 65-31), these cases are closely tied in with Port of New York Authority v. Federal Maritime Commission, 5 Cir. 1970, 429 F.2d 663 (No. 27,722).  That case came here upon a petition to review the final Federal Maritime Commission disposition of its Docket 65-31.  As pointed out in Footnote 4 thereof, the petitioners brought these two petitions seeking review of the Commission's refusal to decide summarily and without evidentiary hearings the legality of the rates in question under Section 15 of the Shipping Act.
    
    
      2
      This Court refused to enter stays pending decision of these petitions for review and the proceedings continued before the hearing examiner and the Maritime Commission to the results reviewed and affirmed by another panel of this Court in No. 27,722, Port of New York Authority v. F.M.C., supra.
    
    
      3
      For all practical purposes, the matters sought to be reviewed by these petitions were mooted when the matter proceeded to final conclusion before the Maritime Commission.  In this present posture of the matter we think it sufficient to say that we do not find that the Commission abused its discretion in refusing to dispose of the proceedings before it summarily.
    
    
      4
      Affirmed.
    
    